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 Joseph Diaz Jr.
 250 North College Park Drive,   Unit 113
 Upland, CA 91786
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                              CENTRAL DISTRICT OF CALIFORNIA

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    Case Number:            2:22-cv-02344-MEMF-GJS

    Filer:

    Document Number:        45(No document attached)


   Docket Text:
   TEXT ONLY ENTRY by Judge Maame Ewusi-Mensah Frimpong. On the Court's own motion,
   the Plaintiff's Motion to Strike Defendant's Amended Answer to Complaint[29],the
   Application for Entry of Default against Defendant Joseph Diaz, Jr filed by Plaintiff Jane Doe
  [36], and the Motion for Default Judgment against Defendant Joseph 'JoJo' Diaz, Jr. filed by
  Plaintiff Jane Doe[37] are continued to 04/13/2023 at 10:00 AM.The parties shall take notice of
  this new date.IT IS SO ORDERED.THERE IS NO PDF DOCUMENT ASSOCIATED WITH
  THIS ENTRY.(kd)TEXT ONLY ENTRY

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